Case 5:11-cv-01846-LHK Document 3592-4 Filed 02/23/18 Page 1 of 7




                 EXHIBIT A
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      U.S. PATENT: D618,677
      ISSUE DATE: June 29, 2010
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                       By Authority of the
                       Under Secretary of Commerce for Intellectual Property
                       and Director of the United States  en a        demark Office




                                             P. SWA
                                             Certifying Officer




                                                                   JOINT TRIAL EXHIBIT NO. 1043
                                                                          United States District Court
                                                                         Northern District of California
                                                                         No. 11-CV-01846-LHK (PSG)
                                                                         Apple Inc. v. Samsung Elecs.

                                                                    Date Admitted:__________ By:_________


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Case 5:11-cv-01846-LHK Document 3592-4 Filed 02/23/18 Page 3 of 7

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(12) United States Design Patent (10) Patent No.:                                                            US D618,677 S
      Andre et al.                                                      (45) Date Of Patent: ** *Jun. 29, 2010

(54) ELECTRONIC DEVICE                                             (56)                    References Cited
(75) Inventors: Bartley K. Andre, Menlo Park, CA
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                Q. Seid, Palo Alto, CA (US);                      Primary Examinerdathron C Brooks
                Christopher J. Stringer, Woodside, CA             Assistant Examiner-Angela J Lee
                (US); Eugene Antony Whang, San                    (74) Attorney, Agent, orFinn-Sterne, Kessler, Goldstein &
                Francisco, CA (US); Rico                          Fox PLLC
                Zorkendorfer, San Francisco, CA (US)              (57)                      CLAIM
(73) Assignee: Apple Inc., Cupertino, CA (US)
(*)    Notice:      This patent is subject to a terminal dis-      The ornamental design ofan electronic device, as shown and
                    claimer.                                       described.
(**) Term:      14 Years                                                                 DE ••••=•=ON
(21) Appl. No.: 29/328,018                                         FIG. 1 is a front perspective view of an electronic device in
(22) Filed:     Nov. 18, 2008                                     accordance with the present invention;
                                                                  FIG. 2 is a rear perspective view thereof;
                 Related U.S. Application Data
                                                                  FIG. 3 is a front view thereof;
(60) Division of application No. 29/282,834, filed on Jul.        FIG. 4 is a rear view thereof;
     30, 2007, now Pat. No. Des. 581,922, which is a con-
     tinuation of application No. 29/270,888, filed on Jan.       FIG. 5 is a top view thereof;
     5, 2007, now Pat. No. Des. 558,758.                          FIG. 6 is bottom view thereof;
                                                                  FIG. 7 is a left side view thereof; and,
(51) LOC (9) Cl. .
(52) U.S. CI.
                            ................   .......... 14-02
                                D14/341; D14/248; DI4/203.7       FIG. 8 is a right side view thereof.
(58) Field of Classification Search ................ DI4/341,     The claimedsurfaceofthe electronic device is illustrated with
              D 4/342, 343, 344, 345, 346, 347, 420, 426,         the color designation for the color black.
              D 4/427, 432, 439, 440, 441, 448, 496, 125,         The electronic device is not limited to the scale shownherein.
              D 4/137, 129, 130, 138, 250, 389, 147, 218,         As indicated in the title, the article of manufacture to which
              D:4/247, 248, 156; D10/65, 104; D13/168;            the ornamental design has been applied is an electronic
               D18/6, 7; D21/329, 686; 455/90.3, 556.1,           device, media player (e.g., music, video and/or game player),
              455/556.2, 575.1, 575.3, 575.4; 379/433.01,         media storage device, a personal digital assistant, a ----
           379/433.04, 433.06, 433.07; 361/814; 341/22;           nication device (e.g., cellular phone), a novelty item or toy.
                          345/169, 173; D6/596, 601, 605
      See application file for complete search history.                             1 Claim, 2 Drawing Sheets




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Case 5:11-cv-01846-LHK Document 3592-4 Filed 02/23/18 Page 4 of 7



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Case 5:11-cv-01846-LHK Document 3592-4 Filed 02/23/18 Page 5 of 7



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Case 5:11-cv-01846-LHK Document 3592-4 Filed 02/23/18 Page 6 of 7



 U.S. Patent            Jun. 29, 2010           Sheet 1 of 2                  US D618,677 S




                                               FIG. 1




                                             FIG. 2



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Case 5:11-cv-01846-LHK Document 3592-4 Filed 02/23/18 Page 7 of 7



U.S. Patent                 Jun. 29, 2010         Sheet 2 of 2                    US D618,677 S




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